






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00339-CV






In re Eric Gamble






ORIGINAL PROCEEDING FROM BELL COUNTY





M E M O R A N D U M   O P I N I O N


		Eric Gamble, proceeding pro se, filed an Emergency Motion to Quash or Nullify
Sentence(s) and Judgment or Writ of Error Coram Nobis in this Court. (1)  Looking to the substance
of Gamble's pleading, rather than its title or form, we construe his pleading as a petition for writ of
error coram nobis.  See Surgitek, Bristol-Myers Corp. v. Abel, 997 S.W.2d 598, 601 (Tex. 1999)
(courts look to substance of pleading rather than its caption or form to determine its nature).

		The purpose of a writ of error coram nobis is to bring before the court rendering the
judgment matters of fact which, if known at the time the judgment was rendered, would have
prevented its rendition.  Ex parte McKenzie, 29 S.W.2d 771, 772 (Tex. Crim. App. 1930).  The Court
of Criminal Appeals has long held this common-law writ has no application in this state.  See Ex
parte Massey, 249 S.W.2d 599, 601 (Tex. Crim. App. 1952).

		The habeas corpus procedure set out in article 11.07 of the Code of Criminal
Procedure provides the exclusive remedy for felony post-conviction relief in state court.  See Tex.
Code Crim. Proc. Ann. art. 11.07, § 5 (West Supp. 2011).  Article 11.07 vests complete jurisdiction
over post-conviction relief from final felony convictions in the Texas Court of Criminal Appeals. 
See id.; Hoang v. State, 872 S.W.2d 694, 697 (Tex. Crim. App. 1993) (only court of criminal appeals
has authority to grant post-conviction relief from final felony convictions).

		Accordingly, we dismiss Gamble's petition for want of jurisdiction.


						__________________________________________

						Melissa Goodwin, Justice

Before Justices Puryear, Henson and Goodwin

Dismissed for Want of Jurisdiction

Filed: May 22, 2012
1.   Gamble appears to be challenging two judgments of conviction for aggravated robbery
rendered in cause numbers 65,435 and 65,435 in the 264th Judicial District Court of Bell County in
February 2010.


